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     and ANTONIUS WIRIADJAJA p/k/a
   8 FOOD MASKU
   9
  10                         UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12                                SOUTHERN DIVISION
  13
  14 JACOB L. NYGARD p/k/a CAKE              CASE NO. 22-CV-00425-DOC-DFM
     NYGARD, an individual; DONGLEE
  15 HAN, an individual; CLARE
     MAGUIRE, an individual; and             NOTICE OF RELATED CASE
  16 ANTONIUS WIRIADJAJA p/k/a               [LOCAL RULE 83-1.3]
     FOOD MASKU, an individual,
  17
                      Plaintiffs,            The Honorable David O. Carter
  18
          vs.
  19
     TAYLOR WHITLEY p/k/a
  20 TAYLOR.WTF, an individual,
  21                        Defendant.
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       5862.060/1791890.1
       NOTICE OF RELATED CASE
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                 1         TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
                 2         Pursuant to Civil Local Rule 83-1.3, Plaintiffs Jacob L. Nygard p/k/a “Cake
                 3 Nygard,” Donglee Han, Clare Maguire, and Antonius Wiriadjaja p/k/a “Food
                 4 Masku” (collectively, “Plaintiffs”) hereby give notice to the Court that the following
                 5 case is related to the above-captioned case: Taylor Whitley, et al. v. Clare Maguire,
                 6 et al., Case No. 22-cv-01837-ODR-JEM (“Whitley action”). The Complaint in the
                 7 Whitley action is attached as Exhibit A.
                 8         Cases are related if they (a) arise from the same or a closely related
                 9 transaction, happening, or event; (b) require determination of the same or
                10 substantially related or similar questions of law and fact; or (c) for other reasons
                11 would entail substantial duplication of labor if heard by different judges. Local Rule
                12 83-1.3
                13         Here, the Whitley action and the above-captioned action meet the above
                14 criteria and, thus, are related. Both cases largely arise from the January 2022 sale of
                15 “Caked Apes”—a collection digital art pieces that are also known as non-fungible
                16 tokens (“NFTs”). In the Whitley action, Taylor Whitley (“Whitley”) alleges, among
                17 other things, that Plaintiffs’ sale of “Caked Apes” infringed certain of his alleged
                18 copyright interests. In the above-captioned action, Plaintiffs allege they held all
                19 rights necessary to sell the “Caked Apes” collection, that it did not infringe any
                20 alleged copyright interest held by Whitley, and that Whitley misrepresented that the
                21 collection infringed his alleged copyright interests when he submitted “take down”
                22 notices under the Digital Millennium Copyright Act (“DMCA”) to have the
                23 collection removed from online market places. See 17 U.S.C. Section 512(f)
                24 (providing that “[a]ny person who knowingly materially misrepresents under this
                25 section . . . that material or activity is infringing . . . shall be liable for damages . .
                26 .”).
                27         Because the legal and factual claims are so similar, the claims in both actions
                28 call for determination of the same or substantially related or similar questions of
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                1 law, Local Rule 83-1.3(b), and there would be substantial duplication of effort if
                2 different judges heard the two actions, id. 83-1.3(c).
                3              For these reasons, the Court should find that the above-captioned action and
                4 the Whitley action are related.
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                6 DATED: March 21, 2022                    KING, HOLMES, PATERNO & SORIANO, LLP
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                8
                                                           By:         /s/ John G. Snow
                9
                                                                               HOWARD E. KING
                10                                                               JOHN G. SNOW
                11                                         Attorneys for Plaintiffs JACOB L. NYGARD p/k/a
                                                           CAKE NYGARD, DONGLEE HAN, CLARE
                12                                         MAGUIRE, and ANTONIUS WIRIADJAJA p/k/a
                13                                         FOOD MASKU

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